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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF NORTH CAROLINA

Brian David Hill
_— 1:13-cr-435-1
enanHTLnts 5 CASE NO. 4:29-CV-00074
Vv.
a NOTICE OF FILING PAPER OR
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THE CLERK

Defendant(s).

 

 

 

 

The following is being filed in paper or physical form with the Clerk’s Office for the

Middle District of North Carolina:

As part of Exhibit 4: An DVD Video disc containing a 57 Second full video clip of
https:/Awww.bitchute.com/video/voe8YBgCOHLS/ (video/link/title obtained by family)
"Isaac Kappy: The name of the game is blackmail." He explains how they blackmail
people and they film it, and make a system of compromised people.

The item(s) will remain in the Clerk’s custody until appropriate Disposition pursuant to
the Local Rules of the Middle District of North Carolina

Dated this 8th day of March, 2022.

Brian D. Hill - Ally of Q

310 Forest Street, Apartment 2
Martinsville, Virginia 24112
(276) 790-3505

 

JusticeForUSWGO.wordpress.com
JusticeFor USWGO.NL

Name, Address, and Phone Number of Counsel or Pro Se

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